      Case 2:15-cr-00202-SRW Document 48 Filed 03/18/16 Page 1 of 11




                   IN THE DISTRICT COURT OF THE UNITED STATES
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                 EASTERN DIVISION

UNITED STATES OF AMERICA                      )
                                              )
      V.                                      )      CR. NO. 2:15-CR-202-JA-SRW
                                              )
KENNETH LAMAR HENDERSON                      )

                                     PLEA AGREEMENT

DEFENSE COUNSEL:                      Cecilia Vaca

ASSISTANT U.S. ATTORNEY               Jonathan S. Ross

                            COUNT AND STATUTE CHARGED

Count 1        18 U.S.C. § 930(a) - Possession of a dangerous weapon in a federal facility

                COUNT PLEADING PURSUANT TO PLEA AGREEMENT

Count 1:       18 U.S.C. § 930(a)

                          STATUTORY MAXIMUM PENALTIES

Count 1        18 U.S.C. § 930(a)

        A term of imprisonment of not more than 1 year, a fine of not more than $100,000, or
both; a term of supervised release of not more than J year; an assessment fee of $25; and an
order of restitution.

                               ELEMENT OF THE OFFENSE

Count 1:       18 U.S.C. § 930(a)

       The defendant knowingly possessed or caused to be present a dangerous
       weapon within a federal facility.


       Jonathan S. Ross, Assistant United States Attorney, and Cecilia Vaca, attorney for the

defendant, pursuant to Rule 11(c)(1)(A) and 11(c)(1)(B) of the Federal Rules of Criminal

Procedure, have, with the authorization of the defendant, heretofore entered into discussions with
      Case 2:15-cr-00202-SRW Document 48 Filed 03/18/16 Page 2 of 11




a view towards reaching a pretrial conclusion of the charges pending in the information and the

indictment and the parties have reached a plea agreement. The parties submit the plea pursuant

to Rule ll(c)(l)(B), and the parties understand that, the terms of the plea agreement do not bind

the Court and if they are not accepted by the Court, the defendant will not be allowed to

withdraw his plea of guilty. The parties further understand that, if at any time, the defendant

breaches this agreement, his guilty plea may not be withdrawn.

                               GOVERNMENT'S PROVISIONS

       1.      Upon entering a plea of guilty by the defendant to the offense charged in count 1

of the information, the following will occur:

               a.      The Government will agree that a 2-level decrease in the applicable

offense level pursuant to § 3E 1 .1(a) of the United States Sentencing Guidelines for the

defendant's acceptance of responsibility is appropriate, so long as between the date of this

agreement and the date of sentencing, the defendant does not obstruct justice, commit any new

federal or state offense, or otherwise fail to accept responsibility for the offense conduct. Should

the Government find the defendant assisted authorities in the investigation or prosecution of the

defendant's own misconduct by timely notifying authorities of the defendant's intention to enter a

plea of guilty, thereby permitting the Government to avoid preparing for trial and permitting the

Government and this Court to allocate their resources efficiently, and if the defendant otherwise

qualifies, the Government will move at the sentencing hearing for a further reduction of one

level, pursuant to § 3E1 .1(b). Determination of whether the defendant met the defendant's

obligations to qualify for the reduction pursuant to § 3E1.l is at the sole discretion of the

Government.

               b.      The Government will agree to recommend, pursuant to Rule 11(c)(1)(B),

                                                 2
        Case 2:15-cr-00202-SRW Document 48 Filed 03/18/16 Page 3 of 11




 that a term of imprisonment of one year and a term of supervised release of one year is the

 appropriate disposition of the case.

                C.         The Government will agree not to seek any upward departure from the

 applicable advisory Guidelines range, as determined by the Court at the sentencing hearing, and

 to not seek a variance.

                d.         The Government will move to dismiss the charges pending against the

 defendant in the indictment.

        2.      The Government makes no representation regarding the defendant's criminal

 history category, which will be recommended by Probation, and determined by the Court.

         3. The Government reserves the right to inform the Court and the United States

 Probation Office (Probation) of all facts pertinent to the sentencing process, including all

 relevant information concerning the offense and the defendant's background.

                                    DEFENDANT'S PROVISIONS

4.              The defendant agrees with paragraphs 1 through 3 of the Government's

 provisions and further agrees to the following:

                a.         To plead guilty to count 1 of the information.

                b.         To not commit any state, federal, or local crimes pending sentencing.

                C.         To waive appeal and collateral attack as detailed below.

        5. The defendant expressly waives any right to argue for a sentence below the

 bottom of the advisory Guidelines range as calculated by the Court at the sentencing hearing.

 The defendant preserves, however, the right to object to Probation's recommended advisory

 Guidelines range, including specifically, the right to object to Probation's failure to recommend

 the application of any departure provision set forth in the Guidelines manual.

                                                     3
      Case 2:15-cr-00202-SRW Document 48 Filed 03/18/16 Page 4 of 11




                                       FACTUAL BASIS

       6. The defendant admits the allegations charged in count 1 of the information and

understands that the nature of the charges to which the plea is offered involves proof as to count

1 of the information. Specifically, the defendant admits the following to be true and correct:

               a.     On or about April 13, 2015, the defendant went to the office of the Social

Security Administration (SSA), a federal agency, located in Montgomery, Alabama, within the

Middle District of Alabama.

               b.     When the defendant entered the facility, he had in his pocket a dangerous

weapon, to wit, a kitchen knife approximately one foot long.

         DEFENDANT'S WAIVER OF APPEAL AND COLLATERAL ATTACK

       7. Understanding that 18 U.S.C. § 3742 provides for appeal by a defendant of the

sentence under certain circumstances, the defendant expressly waives any and all rights

conferred by 18 U.S.C. § 3742 to appeal the sentence. The defendant specifically waives the

right to appeal the sentence on the grounds that: (1) the advisory Guidelines are in any respect

unconstitutional: (2) any fact found by the Court for sentencing was not alleged in the

information, admitted by the defendant, found by a jury, or found beyond a reasonable doubt; (3)

the sentence imposed was unreasonable; or (4) that the Court erred in determining the applicable

Guidelines range pursuant to the United States Sentencing Guidelines. The defendant further

expressly waives the right to appeal his conviction and sentence on any other ground and waives

the right to attack his conviction and sentence in any post-conviction proceeding, including

proceedings pursuant to 28 U.S.C. § 2255. This waiver does not include the right to appeal on

the grounds of ineffective assistance of counsel or prosecutorial misconduct, or to collaterally

attack the sentence imposed on those grounds. But, other than those grounds, the defendant

                                                 4
       Case 2:15-cr-00202-SRW Document 48 Filed 03/18/16 Page 5 of 11




expressly waives the right to appeal or collaterally attack his conviction or sentence on any other

ground.

          8.   In return for the above waiver by the defendant, the Government does not waive

its right to appeal the sentence imposed in this case. The Government does not waive its right to

appeal any order dismissing the information, vacating a sentence, or otherwise terminating the

prosecution at any stage of the proceedings. Further, the parties agree that nothing in this

agreement shall affect the Government's right and/or duty to appeal as set forth in 18 U.S.C.

§ 3742(b). However, if the Government decides to exercise its right to appeal, the defendant is

released from his appeal waiver and may pursue any appeal pursuant to 18 U.S.C. § 3742.

    APPLICATION OF THE SENTENCING GUIDELINES AND 18 U.S.C. § 3553(a)

          9.   The parties understand that the Court is neither a party to nor bound by this

agreement. The Court may or may not follow the recommendation set forth in the agreement, or

defer its decision until it has had an opportunity to consider the presentence report prepared by

Probation. The defendant understands and acknowledges that, although the parties are permitted

to make recommendations and present arguments to the Court, the sentence and the United

States Sentencing Guidelines, if any, applicable to defendant's case will be determined solely by

the Court, with the assistance of Probation. The defendant understands that the Court is required

to consider any applicable sentencing guidelines, but may depart from these provisions under

some circumstances. The defendant acknowledges that the defendant and the defendant's

attorney have discussed the advisory Guidelines and the defendant understands how the

Guidelines are applicable to the defendant's case. The defendant further understands that the

Court will consider the factors enumerated in 18 U.S.C. § 3553(a), in imposing a sentence.

Specifically, the Court will consider:

                                                 5
       Case 2:15-cr-00202-SRW Document 48 Filed 03/18/16 Page 6 of 11




       (a)     the nature and circumstances of the offense and the history and
               characteristics of the defendant;
       (b)     the need for the sentence imposed - (A) to reflect the seriousness of the
               offense, to promote respect for the law, and to provide just punishment for
               the offense; (B) to afford adequate deterrence to criminal conduct; (C) to
               protect the public from further crimes of the defendant; and (D) to provide
               the defendant with needed educational or vocational training, medical
               care, or other correctional treatment in the most effective manner;
       (c)     the kinds of sentences available;
       (d)     the kinds of sentence and the sentencing range established for the
               applicable category of offense committed by the applicable category of
               defendant as set forth in the sentencing guidelines;
       (e)     any pertinent policy statement - (A) issued by the Sentencing
               Commission subject to any amendments made to such policy statement by
               act of Congress; and (B) that, except as provided in section 3742(g), is in
               effect on the date the defendant is sentenced;
       (f)     the need to avoid unwarranted sentence disparities among defendants with
               similar records who have been found guilty of similar conduct; and
       (g)     the need to provide restitution to any victims of the offense.

See 18 U.S.C. § 3553(a).

         THE DEFENDANT'S UNDERSTANDING AND ACKNOWLEDGMENT

        10.    The defendant, before entering a plea of guilty to count I of the information

advises the Court that:

               a.         The discussions between the attorney for the Government and the attorney

for the defendant towards reaching an agreed plea in this case have taken place with the

defendant's authorization and consent.

               b.         The defendant acknowledges that a breach of this plea agreement by the

defendant, including committing another federal, state, or local offense prior to sentencing on the

pending charges, will not entitle him to withdraw his guilty plea in this case. The defendant

understands and acknowledges that the defendant's guilty plea will remain in full force and effect

upon any breach of this agreement by the defendant.

               C.         The defendant further understands that pursuant to 18 U.S.C. § 3103, the
        Case 2:15-cr-00202-SRW Document 48 Filed 03/18/16 Page 7 of 11




$25.00 assessment fee is to be paid by the defendant on the date of sentencing. The defendant

will make an honest, good faith effort to pay said fee as directed by the Financial Litigation

Section of the Office of the United States Attorney for the Middle District of Alabama. The

defendant further understands that by completing and submitting to the Court or to the

Government any financial statements, the defendant is representing that the statement is true and

accurate to the best of the defendant's information, knowledge, and belief.

                1. The defendant understands that the defendant has a right to be represented

by an attorney at every stage of the proceedings against the defendant and is represented by the

defendant's attorney, Cecilia Vaca.

                e.        The defendant understands that the defendant has the right to plead not

guilty and has the right to be tried by a jury and, at a trial, has the right to the assistance of

counsel, the right to confront and cross-examine witnesses against the defendant, the right to call

witnesses in the defendant's own behalf, and the right not to be compelled to incriminate the

defendant, and that if the defendant enters a plea of guilty, there will not be a further trial of any

kind and that by the entry of such a plea, the defendant waives the right to a trial by jury or to a

trial before the Court.

                f.        The defendant further understands that in entering a plea of guilty, the

Court may ask questions about the offenses to which the plea is entered and further understands

that if the defendant answers these questions under oath, on the record, and in the presence of

counsel, which questions and answers would be recorded, that the answers may later be used

against the defendant in a prosecution for perjury or making a false statement if the answers are

not truthful.

                g.        The defendant further understands and advises the Court that the plea

                                                  7
       Case 2:15-cr-00202-SRW Document 48 Filed 03/18/16 Page 8 of 11




agreement as set forth and the plea to be entered by the defendant as a result thereof is voluntary

on the defendant's part and is not the result of any force or threats or of any promises apart from

the plea agreement. The defendant further advises the Court that the plea agreement is the result

of prior discussions between the attorney for the Government and the attorney for the defendant,

all conducted with the defendant's authorization, knowledge and consent.

               h.       The defendant further advises the Court that the defendant's

understanding of this plea agreement is as set forth in this document.

               i.      The defendant further advises the Court that it is understood that the

Government can only make a recommendation which is not binding on the Court.

               j.      The defendant further advises the Court that the defendant understands

and has been advised that evidence of a plea of guilty, later withdrawn or an offer to plead guilty

to the crimes charged in the information, or of statements made in connection with and relevant

to said plea or offer to plead, shall not be admissible in any civil or criminal proceedings against

the defendant. However, the defendant does understand that evidence of a statement made in

connection with and relevant to a plea of guilty, later withdrawn, or an offer to plead guilty to the

crimes charged in the information, is admissible in a criminal proceeding for perjury or making a

false statement when the statement was made by the defendant under oath, on the court record,

and in the presence of counsel.

               k.      The defendant is satisfied that defense counsel has been competent and

effective in representing defendant.

       11. The attorneys for the Government and for the defendant represent to the Court

that the foregoing plea agreement is the agreement of the parties that has been reached pursuant

to the plea agreement procedure provided for in Rule 11 of the Federal Rules of Criminal

                                                  8
        Case 2:15-cr-00202-SRW Document 48 Filed 03/18/16 Page 9 of 11




Procedure. The attorney for the defendant further advises the Court that the defendant has been

advised of the nature of the charges to which the foregoing described plea is to be offered, and

that the defendant has been advised of the defendant's right to plead not guilty and to be tried by

a jury on all issues; of the maximum possible penalty provided by law; that by the entering of a

plea of guilty, the defendant waives the right to be tried by a jury or by the Court, waives the

right to confront and cross-examine witnesses against the defendant and the right not to be

compelled to incriminate the defendant; and that if the defendant pleads guilty, there will not be

a further trial of any kind. Further, the defendant has been advised that if the defendant pleads

guilty, the Court may ask questions about the offense to which the defendant has pleaded and

that if the plea is rejected or later withdrawn, that the answers to such questions may not be used

against the defendant in a civil or criminal proceeding, but that the defendant's answers may later

be used against the defendant in a prosecution for perjury or false statement if the answers are

not truthful.




                                                 OJ
         Case 2:15-cr-00202-SRW Document 48 Filed 03/18/16 Page 10 of 11




         12.    The defendant understands that Probation will prepare a presentence investigation

report for the Court. The probation officer will consider the defendant's conduct related to the

offense to which the plea if offered, as well as the defendant's criminal history. The offense

level or criminal history category as calculated by the probation officer and determined by the

court may differ from that projected by the defendant's counsel or the Government. In the event

that the Court determines the defendant's offense level or criminal history category to be higher

than the defendant anticipated, the defendant will have no right to withdraw the plea on that

basis.

         This         day                2016.

                                             Respectfully submitted,

                                             GEORGE L. BECK, JR.
                                             UNITED STATES ATTORNEY




 Louis V. rank1in, Sr.                                Jonathf n S. Ross
 Criminal Chief                                       Assist/tnt United States Attorney




                                                 10
      Case 2:15-cr-00202-SRW Document 48 Filed 03/18/16 Page 11 of 11




       I have read the foregoing plea agreement, understand the same, and the matters and facts

set forth therein accurately and correctly state the representations that have been made to me and

accurately set forth the conditions of the plea agreement that has been reached.

       IN ADDITION TO THE FOREGOING PROVISIONS TO WHICH I AGREE, I

SWEAR UNDER PENALTY OF PERJURY THAT THE FACTS IN THE "FACTUAL BASIS"

PARAGRAPH ABOVE ARE TRUE AND CORRECT AND THAT I AM SATISFIED THAT I

HAVE RECEIVED COMPETENT ADVICE AND REPRESENTATION FROM MY

DEFENSE COUNSEL, Cecilia Vaca.




                                             Kenneth Lamariiderson
                                             Defendant


                                             Aon      oi,V\        IAO
                                             Date




                                             Cecilia Vaca
                                             Attorney for the Defendant


                                                        Cu1.          L
                                             Date




                                                11
